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 8                           UNITED STATES DISTRICT COURT

 9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                             January 2020 Grand Jury

11   UNITED STATES OF AMERICA,               SA CR 20-138-AB

12             Plaintiff,                    I N D I C T M E N T

13             v.                            [50 U.S.C. § 1705(a) and (c):
                                             Conspiracy to Violate the
14   EBRAHIM AZADEGAN, and                   International Emergency Economic
     ALIREZA ALVANDI,                        Powers Act; 50 U.S.C. § 1705(a)
15      “AliReza Al,”                        and (c): Violation of the
        “Su Li,”                             International Emergency Economic
16                                           Powers Act; 18 U.S.C. § 1349:
               Defendants.                   Conspiracy to Commit Wire Fraud;
17                                           18 U.S.C. § 554: Smuggling Goods
                                             Out of the United States; 18
18                                           U.S.C. § 1956(a)(2)(A): Money
                                             Laundering; 18 U.S.C. § 2(a), (b):
19                                           Aiding and Abetting and Causing an
                                             Act to be Done]
20

21        The Grand Jury charges:
22                             Introductory Allegations
23        At all times relevant to this Indictment:
24        1.   Defendant EBRAHIM AZADEGAN (“AZADEGAN”) was located in Iran
25   and facilitated the purchase, payment, and shipment of electronic
26   equipment, including computer servers, to Iran.          Defendant AZADEGAN
27   was an Information Technology Manager for an Iranian electronics
28   company named Zaeim Electronic Industries (“Zaeim”).
      Case 8:20-cr-00138-JLS Document 1 Filed 09/25/20 Page 2 of 20 Page ID #:2



 1        2.    Defendant ALIREZA ALVANDI, also known as (“aka”) “AliReza

 2   Al” aka “Su Li” (“ALVANDI”), was located in Iran and Hong Kong and

 3   owned and operated a front company purportedly located in Hong Kong

 4   called Yuzhui Electronics Inc. (“Yuzhui”).         Defendant ALVANDI

 5   facilitated payment to coconspirator Johnny Paul Tourino

 6   (“coconspirator Tourino”) from defendant AZADEGAN for the purchase

 7   and shipment of computer equipment to Iran.

 8        3.    Coconspirator Tourino, a natural-born United States

 9   citizen, resided in Orange County in the Central District of

10   California, where he was the Vice-President, owner, and operator of

11   conconspirator Spectra Equipment, Inc. (“coconspirator Spectra”), a

12   California company, which was also located in and doing business in

13   Orange County, in the Central District of California.

14        4.    U.S. Company #1 was a company located in the state of New

15   York that sold computer equipment.

16        5.    The computer servers referred to in this Indictment were

17   computers designed to process requests and deliver data to other

18   computers over a local network or the internet.          The computer servers

19   were dual-use commercial goods, which were items that had both a

20   commercial application and a military or strategic use, controlled by

21   the Commerce Control List (“CCL”) under Export Control Classification

22   Number (“ECCN”) 5A002.A for anti-terrorism and national security

23   reasons.

24        6.    On February 5, 2012, the President issued Executive Order

25   (“E.O.”) 13599 in order to take additional steps with respect to the

26   national emergency declared in E.O. 12957 of March 15, 1995, in light

27   of the deceptive practices of the Central Bank of Iran and other

28   Iranian banks to conceal transactions of sanctioned parties, the
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 1   deficiencies in Iran’s anti-money laundering regime and the

 2   weaknesses in its implementation, and the continuing and unacceptable

 3   risk posed to the international financial system by Iran’s

 4   activities.   E.O. 13599 imposed a broad set of prohibitions on

 5   certain dealings in the property or interests in property of Iranian

 6   financial institutions, including the making of any contribution or

 7   provision of funds, goods, or services by, to, or for the benefit of

 8   any Iranian financial institution.

 9        7.   Bank Mellat and Bank Keshavarzi were Iranian financial

10   institutions.

11        8.   Data Processing Iran Company (“DPI”) was a computer,

12   technology, and information technology consulting corporation

13   headquartered in Tehran, Iran.

14        9.   The Grand Jury incorporates by reference and re-alleges

15   these Introductory Allegations into each and every count of this

16   Indictment as though fully alleged therein.

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 1                                     COUNT ONE

 2                           [50 U.S.C. § 1705(a), (c);

 3                 31 C.F.R. §§ 560.203, 560.204, and 560.205]

 4   A.   OBJECTS OF THE CONSPIRACY

 5        Beginning at least as early as in or around January 2013, and
 6   continuing up to and including at least in or around July 2017, in
 7   Orange County, within the Central District of California, and
 8   elsewhere, defendants EBRAHIM AZADEGAN (“AZADEGAN”) and ALIREZA
 9   ALVANDI, also known as (“aka”) “AliReza Al” aka “Su Li” (“ALVANDI”),
10   and others known and unknown to the Grand Jury conspired and agreed
11   with each other to knowingly and intentionally commit offenses
12   against the United States, namely:
13        1.   To knowingly and willfully enter into transactions within
14   the United States that evaded and avoided, and had the purpose of
15   evading and avoiding, the regulations governing trade and exports
16   from the United States to Iran, and by a United States person
17   wherever located to Iran, in violation of 50 U.S.C. § 1705(a) and
18   (c), and 31 C.F.R. § 560.203;
19        2.   To export, sell, and supply, and to attempt to export,
20   sell, and supply, computer equipment from the United States to Iran,
21   and by a United States person wherever located to Iran, in violation
22   of the regulations that govern trade and exports to Iran, without
23   first having applied for, and through such application obtained from
24   the United States Department of Treasury’s Office of Foreign Assets
25   Control (“OFAC”), a license or authorization for such export, in
26   violation 50 U.S.C. § 1705(a) and (c), and 31 C.F.R. § 560.204;
27        3.   To engage in a transaction and dealing in and related to
28   goods, technology, and services for exportation, reexportation, sale
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 1   and supply, by a United States person wherever located, to Iran,

 2   without first having applied for, and through such application

 3   obtained from OFAC, a license or authorization for such export, in

 4   violation of 50 U.S.C. § 1705(a) and (c), and 31 C.F.R. § 560.206;

 5        4.   To approve, finance, and facilitate, and to attempt to

 6   approve, finance, and facilitate a transaction by a foreign person

 7   and a United States person, in violation of the regulations that

 8   govern trade and exports to Iran, without first having applied for,

 9   and through such application obtained from OFAC, a license or

10   authorization for such export, in violation 50 U.S.C. § 1705(a) and

11   (c), and 31 C.F.R. § 560.208; and

12        5.   To contribute and provide goods and services to and for the

13   benefit of an Iranian financial institution, in violation of the

14   regulations that govern trade and exports to Iran, without first

15   having applied for, and through such application obtained from OFAC,

16   a license or other authorization for such activity, in violation 50

17   U.S.C. § 1705(a) and (c), and 31 C.F.R. § 560.211(b) and (d).

18   B.   MEANS BY WHICH THE OBJECTS OF THE CONSPIRACY WERE TO BE

19        ACCOMPLISHED
20        The objects of the conspiracy were to be accomplished in
21   substance as follows:
22        1.   Defendant AZADEGAN, while located in Iran, would
23   communicate with Johnny Paul Tourino (“coconspirator Tourino”)
24   regarding the type and number of computer equipment needed by
25   defendant AZADEGAN for export to Iran.
26        2.   Defendant AZADEGAN would cause funds to be transferred from
27   defendant ALVANDI outside the United States to coconspirator Tourino
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 1   in Orange County within the Central District of California to

 2   purchase the computer equipment.

 3        3.   Defendant ALVANDI and coconspirator Tourino would make

 4   material false and fraudulent pretenses, representations, and

 5   promises to, and conceal material facts from, U.S. Company #1

 6   regarding the true end users and the country of destination of the

 7   computer equipment.

 8        4.   Through Yuzhui, defendant ALVANDI would purchase the

 9   computer equipment from and would wire payments to coconspirator

10   Tourino and coconspirator Spectra.

11        5.   Coconspirator Tourino would use coconspirator Spectra to

12   wire payment to U.S. Company #1 for the computer equipment to be

13   bought for defendant AZADEGAN.

14        6.   Coconspirator Tourino arranged for the computer equipment

15   to be shipped from New York to the United Arab Emirates, where the

16   computer equipment was ultimately intended to be transshipped to Iran

17   to be used by Iranian financial institutions Bank Mellat and Bank

18   Keshavarzi.

19        7.   Defendants AZADEGAN and ALVANDI and coconspirator Tourino

20   concealed the end-users of the computer equipment, the source of the

21   funds for payment for the computer equipment, and that Iranian

22   individuals and entities were involved in the purchases.

23   C.   OVERT ACTS

24        In furtherance of the conspiracy and to accomplish the objects
25   of the conspiracy, defendants AZADEGAN and ALVANDI, and others known
26   and unknown to the Grand Jury, committed various overt acts within
27   the Central District of California and elsewhere, on or about the
28   dates identified below, including the following:
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 1        Overt Act No. 1:       In an email dated July 4, 2015, defendant

 2   AZADEGAN stated that he was having difficulty getting software for

 3   the computer servers because of the sanctions against Iran.

 4        Overt Act No. 2:       In an email dated August 31, 2015, defendant

 5   AZADEGAN thanked coconspirator Tourino for procuring and shipping the
 6   computer servers, and stated that he wanted to work with
 7   coconspirator Tourino and coconspirator Spectra when Bank Mellat made
 8   another tender offer for five additional computer servers.            In that
 9   email, defendant AZADEGAN indicated that Bank Mellat was the customer
10   in the deal completed with U.S. Company #1’s Australian subsidiary
11   between June and August 2015.
12        Overt Act No. 3:       In an email dated September 8, 2015,
13   coconspirator Tourino told defendant AZADEGAN that he would be
14   interested in an exclusive agreement between coconspirator Tourino
15   and defendant AZADEGAN, that defendant ALVANDI had resolved the
16   biggest obstacle of financing, and that coconspirator Tourino
17   advocated giving U.S. Company #1 “limited information” as it would be
18   more accommodating if it did not hear about the deal through multiple
19   sources.
20        Overt Act No. 4:       In an email dated September 12, 2015,
21   defendant AZADEGAN told coconspirator Tourino that Bank Mellat in
22   Iran had officially announced a tender offer for five computer
23   servers.
24        Overt Act No. 5:       In an email dated September 21, 2015,
25   defendant AZADEGAN told coconspirator Tourino that he would buy the
26   computer servers from coconspirator Tourino because “we had a
27   successful deal.”    Defendant AZADEGAN also stated that coconspirator
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 1   Tourino knew of defendant AZADEGAN’s “capabilities and stability in

 2   Iran’s market.”

 3        Overt Act No. 6:       In an email dated September 23, 2015,

 4   coconspirator Tourino told defendant AZADEGAN that U.S. Company #1
 5   was interested in the deal and that it could allocate the computer
 6   servers if he and his customer were “willing.”         Coconspirator Tourino
 7   also asked defendant AZADEGAN if defendant AZADEGAN “will again be
 8   using” defendant ALVANDI to “accomplish” this deal.
 9        Overt Act No. 7:       In an email dated September 23, 2015,
10   defendant AZADEGAN replied to coconspirator Tourino that defendant
11   ALVANDI would be his “agent” in the deal, and that defendant ALVANDI
12   would be “in direct contact . . . for the details.”
13        Overt Act No. 8:       In an email dated January 14, 2016 that
14   included references to “Tehran” and “Iran,” defendant AZADEGAN told
15   coconspirator Tourino that coconspirator Tourino’s competitor had won
16   the deal.   Coconspirator Tourino forwarded this email to U.S. Company
17   #1 on January 15, 2016, but removed the references to “Tehran” and
18   “Iran.”
19        Overt Act No. 9:       In an email dated February 24, 2016,
20   defendant AZADEGAN told coconspirator Tourino that Bank Mellat had
21   not made its decision regarding whom to purchase the computer servers
22   from and that coconspirator Tourino still had an opportunity to
23   obtain the deal.    Defendant AZADEGAN also stated that if
24   coconspirator Tourino did not accept payment from Iran, defendant
25   ALVANDI could make the payment.
26        Overt Act No. 10:      In an email dated March 2, 2016, defendant
27   AZADEGAN told coconspirator Tourino that he was still waiting for a
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 1   purchase order from Bank Mellat and that the “Iranian new year” was

 2   approaching.

 3        Overt Act No. 11:      In an email dated September 16, 2016,

 4   defendant AZADEGAN told coconspirator Tourino that DPI could purchase
 5   a computer server for Bank Keshavarzi from coconspirator Tourino and
 6   coconspirator Spectra.
 7        Overt Act No. 12:      In an email dated November 11, 2016,
 8   coconspirator Tourino asked defendant AZADEGAN whether defendant
 9   ALVANDI was his “preferred intermediary” with respect to the computer
10   server deal.   In a reply, defendant AZADEGAN confirmed that defendant
11   ALVANDI would be in contact “[a]s for the previous deal.”
12        Overt Act No. 13:      In an email dated December 16, 2016,
13   coconspirator Tourino expressed frustration to defendant AZADEGAN
14   regarding the delay of the deal, noting “they” do not always purchase
15   the equipment they identify in their tender offers.          Defendant
16   AZADEGAN responded, “[y]ou are right, this is the true story about
17   Iran’s market.”
18        Overt Act No. 14:      In an email dated January 4, 2017,
19   coconspirator Tourino provided defendant AZADEGAN with a status
20   update regarding the transaction involving the purchase of computer
21   servers for DPI and Bank Mellat.
22        Overt Act No. 15:      On January 20, 2017, in response to an email
23   from coconspirator Tourino regarding the delay, defendant AZADEGAN
24   replied “[i]n Iran, Thursdays and Fridays are weekends.           It is not
25   bad for you to know more about your partners [sic] culture.”
26        Overt Act No. 16:      In an email dated January 25, 2017,
27   coconspirator Tourino told defendant AZADEGAN that the “opportunity
28   [was] perfect” for DPI to purchase a computer server.
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 1        Overt Act No. 17:      In an email dated February 1, 2017,

 2   coconspirator Tourino asked defendant ALVANDI for an update regarding

 3   the transaction with DPI for the computer server for Bank Keshavarzi.

 4        Overt Act No. 18:      On February 5, 2017, coconspirator Tourino

 5   sent U.S. Company #1 a purchase order for four computer servers for a
 6   total value of $2,125,000.
 7        Overt Act No. 19:      In an email dated February 6, 2017,
 8   coconspirator Tourino falsely told U.S. Company #1 that the end user
 9   of the computer servers was a bank in Africa and that the computer
10   servers were “NOT going to Iran.”
11        Overt Act No. 20:      From February 7, 2017 through February 13,
12   2017, defendant ALVANDI sent three wire transfers to coconspirator
13   Tourino and coconspirator Spectra totaling over $1,125,000 through
14   two front companies located in the United Arab Emirates as partial
15   payment for the purchase of the computer servers.
16        Overt Act No. 21:      In an email dated February 19, 2017,
17   defendant ALVANDI told coconspirator Tourino he expected
18   coconspirator Tourino to be able to handle the problem of the “formal
19   requirement for an export license” himself.         Defendant ALVANDI told
20   coconspirator Tourino that he could claim that the computer servers
21   were going to a “friend’s” company in Slovenia and that the price
22   provided an opportunity “for investment.”
23        Overt Act No. 22:      In an email dated February 20, 2017,
24   defendant TOURINO forwarded the February 19, 2017, email to his
25   attorney replacing the word “friend’s” with “customers.”
26        Overt Act No. 23:      In an email dated February 20, 2017,
27   defendant TOURINO, through his attorney based in Los Angeles County
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 1   within the Central District of California, told U.S. Company #1 that

 2   the end user for the computer servers was in Slovenia.

 3        Overt Act No. 24:      On February 28, 2017, coconspirator Tourino

 4   to obtained three checks from HomeStreet Bank in Orange County
 5   payable to U.S. Company #1 in the amount of $375,000 each, and mailed
 6   them to U.S. Company #1 for the purchase of the computer servers.
 7        Overt Act No. 25:      On March 1 and March 6, 2017, defendant
 8   ALVANDI attempted to send coconspirator Tourino and coconspirator
 9   Spectra two wire transfers through two front companies in the United
10   Arab Emirates totaling approximately $1,000,000 as final payment for
11   the computer servers.
12        Overt Act No. 26:      On March 4, 2017, coconspirator Tourino
13   requested a license from OFAC to unblock defendant ALVANDI’s wire
14   transfers falsely stating “Spectra has NO knowledge of, or has ever
15   consented to anyone associated with Iran having any interest in this
16   transaction/wire transfer.”
17        Overt Act No. 27:      In March or April 2017, coconspirator
18   Tourino deleted from his email account email correspondence with
19   defendant AZADEGAN.
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 1                                     COUNT TWO

 2                           [50 U.S.C. § 1705(a), (c);

 3                 31 C.F.R. §§ 560.203, 560.204, and 560.205;

 4                             18 U.S.C. § 2(a), (b)]
 5        On or about February 28, 2017, in Orange County, within the

 6   Central District of California, and elsewhere, defendants EBRAHIM

 7   AZADEGAN (“AZADEGAN”) and ALIREZA ALVANDI, also known as (“aka”)

 8   “AliReza Al” aka “Su Li” (“ALVANDI”), aiding and abetting each other,

 9   knowingly and willfully attempted to violate, and caused to be

10   violated, the United States trade regulations regarding Iran by

11   attempting to export, sell, and supply, from the United States to

12   Iran, via United Arab Emirates (“UAE”), computer servers, without

13   first having applied for and obtained by such application the

14   necessary license and authorization from the United States Department

15   of the Treasury’s Office of Foreign Assets Control (“OFAC”), for such

16   export, sale, and supply.

17        Specifically, defendants AZADEGAN and ALVANDI, both Iranian

18   persons, negotiated the sale of computer servers, provided payment

19   for the computer servers, and caused the computer servers to be sent

20   to the UAE knowing they were to be transshipped to Iran, without

21   obtaining a license from OFAC.

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 1                                    COUNT THREE

 2                           [50 U.S.C. § 1705(a), (c);

 3                 31 C.F.R. §§ 560.203 and 560.211(b) and (d);

 4                              18 U.S.C. § 2(a), (b)]

 5        On or about February 28, 2017, in Orange County, within the

 6   Central District of California, and elsewhere, defendants EBRAHIM

 7   AZADEGAN (“AZADEGAN”) and ALIREZA ALVANDI, also known as (“aka”)

 8   “AliReza Al” aka “Su Li” (“ALVANDI”), aiding and abetting each other,

 9   knowingly and willfully attempted to violate, and caused to be

10   violated, the United States trade regulations regarding Iran by

11   attempting to engage in, and engaging in, the provision of goods and

12   services to and for the benefit of an Iranian financial institution,

13   without first having applied for and obtained by such application the

14   necessary license and authorization from the United States Department

15   of Treasury’s Office of Foreign Assets Control (“OFAC”).

16        Specifically, defendants AZADEGAN and ALVANDI, both Iranian

17   persons, negotiated the sale of computer servers, provided payment

18   for the computer servers to coconspirators Johnny Paul Tourino and

19   Spectra Equipment, Inc., and attempted to cause the computer servers

20   to be sent to the United Arab Emirates knowing they were to be

21   transshipped to Iran, for the benefit of Banks Mellat and Keshavarzi,

22   without obtaining a license from OFAC.

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 1                                     COUNT FOUR

 2                            [18 U.S.C. §§ 1349, 1343]

 3   A.   OBJECTS OF THE CONSPIRACY

 4        Beginning at least as early as in or around January 2014, and
 5   continuing up to and including at least in or around July 2017, in
 6   Orange County, within the Central District of California, and
 7   elsewhere, defendants EBRAHIM AZADEGAN (“AZADEGAN”) and ALIREZA
 8   ALVANDI, also known as (“aka”) “AliReza Al” aka “Su Li” (“ALVANDI”),
 9   and others known and unknown to the Grand Jury, conspired and agreed
10   with each other to knowingly and intentionally commit offenses
11   against the United States, to design, participate in, and execute a
12   scheme to defraud U.S. Company #1 as to material matters, and to
13   obtain property from U.S. Company #1 by means of material false and
14   fraudulent pretenses, representations, and promises, and through the
15   concealment of material facts, using interstate wires, in violation
16   of Title 18, United States Code, Section 1343.
17   B.   MEANS BY WHICH THE OBJECTS OF THE CONSPIRACY WERE TO BE
18        ACCOMPLISHED AND OVERT ACTS
19        The Grand Jury incorporates by reference and re-alleges
20   Paragraphs B and C from Count One in this count as though fully
21   alleged herein.
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 1                                     COUNT FIVE

 2                       [18 U.S.C. §§ 554, 2(a) and 2(b)]

 3        On or about February 28, 2017, in Orange County, within the

 4   Central District of California, and elsewhere, EBRAHIM AZADEGAN

 5   (“AZADEGAN”) and ALIREZA ALVANDI, also known as (“aka”) “AliReza Al”

 6   aka “Su Li” (“ALVANDI”), aiding and abetting each other:

 7        (1) attempted to fraudulently and knowingly send and export from

 8   the United States merchandise, articles, and objects contrary to a

 9   law and regulation of the United States; and

10        (2) did, and attempted to, knowingly receive, conceal, buy, and

11   sell, and did, and attempted to, knowingly facilitate the

12   transportation, concealment, and sale of merchandise, articles, and

13   objects, knowing the same to be intended for exportation contrary to

14   a law and regulation of the United States.

15        Specifically, defendants AZADEGAN and ALVANDI did, aided and

16   abetted, and willfully caused others known and unknown to the Grand

17   Jury to purchase, export, transport, and send from the United States

18   computer servers, after causing a false representation that the

19   ultimate country of destination was Slovenia, when in fact defendants

20   AZADEGAN and ALVANDI knew that the computer servers were intended to

21   be sent to Iran.    Defendants AZADEGAN and ALVANDI purchased,

22   attempted to purchase, and attempted to effect the export of the

23   computer servers without applying for and obtaining by such

24   application the necessary license and authorization before attempting

25   to send and export the computer servers from the United States.

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 1                              COUNTS SIX THROUGH TEN

 2                  [18 U.S.C. § 1956(a)(2)(A), 2(a) and (b)]

 3        On or about February 7, 2017 through on or about March 6, 2017,

 4   in Orange County, within the Central District of California, and

 5   elsewhere, EBRAHIM AZADEGAN (“AZADEGAN”) and ALIREZA ALVANDI, also

 6   known as (“aka”) “AliReza Al” aka “Su Li” (“ALVANDI”), aiding and

 7   abetting each other, transported, transmitted, and transferred, a

 8   monetary instrument and funds to a bank in the Central District of

 9   California from and through a place outside the United States, namely

10   the Hong Kong and the United Arab Emirates (“UAE”), with the intent

11   to promote the carrying on of a specified unlawful activity, to wit:

12   (1) violating the International Emergency Economic Powers Act, Title

13   50, United States Code, Sections 1701-1706, and the Iranian

14   Transaction and Sanction Regulations, Title 31, Code of Federal

15   Regulations, Sections 560.203 and 560.204; and (2) unlawful

16   smuggling, Title 18, United States Code, Section 554.

17        Counts Six through Ten were transactions involving funds and

18   monetary instruments.     Specifically, the transactions were payments

19   to and by ALVANDI and coconspirator Johnny Paul Tourino and

20   coconspirator Spectra Equipment, Inc. for the purpose of purchasing,

21   smuggling, illegally exporting, and sending to Iran, and related to

22   services provided to Iran, export-controlled items without first

23   obtaining the required licenses to do so.

24    COUNT        DATE      AMOUNT           SENDER/RECIPIENT
      SIX          2/07/2017 $388,954         Defendant ALVANDI’s UAE Front
25                                            Company to coconspirator Spectra
                                              Equipment, Inc.
26    SEVEN        2/09/2017 $499,160         Defendant ALVANDI’s UAE Front
                                              Company to coconspirator Spectra
27                                            Equipment, Inc.
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 1   COUNT         DATE      AMOUNT           SENDER/RECIPIENT
     EIGHT         2/13/2017 $346,771         Defendant ALVANDI’s UAE Front
 2                                            Company to coconspirator Spectra
                                              Equipment, Inc.
 3   NINE          3/01/2017 $479,930         Defendant ALVANDI’s UAE Front
                                              Company to coconspirator Spectra
 4                                            Equipment, Inc.
     TEN           3/06/2017 $519,929         Defendant ALVANDI’s UAE Front
 5                                            Company to coconspirator Spectra
                                              Equipment, Inc.
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 1                            FORFEITURE ALLEGATION ONE

 2             [18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c)]

 3        Pursuant to Rule 32.2(a) of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States will seek

 5   forfeiture as part of any sentence, pursuant to title 18, United

 6   States Code, Section 981(a)(1)(C) and Title 28, United States Code,

 7   Section 2461(c), in the event of any defendant’s conviction under

 8   Counts One through Five of this Indictment.         Each defendant so

 9   convicted shall forfeit the following:

10             a.    All right, title and interest in any and all property,

11   real or personal, constituting, or derived from, any proceeds

12   obtained, directly or indirectly, as a result of any offense charged

13   in each such Count; and

14             b.    To the extent such property is not available for

15   forfeiture, a sum of money equal to the total value of the property

16   described in subparagraph a.

17        Pursuant to Title 21, United States Code, Section 853(p), as

18   incorporated by Title 28, United States Code, Section 2461(c), any

19   defendant so convicted shall forfeit substitute property, up to the

20   total value of the property described in the preceding paragraph if,

21   as the result of any act or omission of the defendant, the property

22   described in the preceding paragraph, or any portion thereof (a)

23   cannot be located upon the exercise of due diligence; (b) has been

24   transferred, sold to or deposited with a third party; (c) has been

25   placed beyond the jurisdiction of the court; (d) has been

26   substantially diminished in value; or (e) has been commingled with

27   other property that cannot be divided without difficulty.

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 1                            FORFEITURE ALLEGATION TWO

 2                                 [18 U.S.C. § 982]

 3        Pursuant to Rule 32.2(a) of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States will seek

 5   forfeiture as part of any sentence, pursuant to Title 18, United

 6   States Code, Section 982(a)(1), in the event of any defendant’s

 7   conviction under Counts Six through Ten of this Indictment.            Each

 8   defendant so convicted shall forfeit the following:

 9             a.    Any property, real or personal, involved in such

10   offense, and any property traceable to such property; and

11             b.    To the extent such property is not available for

12   forfeiture, a sum of money equal to the total value of the property

13   described in subparagraph a.

14        Pursuant to Title 21, United States Code, Section 853(p) and

15   Title 18, United States Code, Section 982(b)(2), any defendant so

16   convicted shall forfeit substitute property if, as the result of any

17   act or omission of the defendant, the property described in the

18   preceding paragraph, or any portion thereof, (a) cannot be located

19   upon the exercise of due diligence; (b) has been transferred, sold to

20   or deposited with a third party; (c) has been placed beyond the

21   jurisdiction of the court; (d) has been substantially diminished in

22   value; or (e) has been commingled with other property that cannot be

23   divided without difficulty.      Substitution of assets shall not be

24   ordered, however, where the convicted defendant acted merely as an

25   intermediary who handled but did not retain the property in the

26   course of the money laundering offense unless the convicted

27   defendant, in committing the offense or offenses giving rise to the

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 1   forfeiture, conducted three or more separate transactions involving a

 2   total of $100,000 or more in any twelve-month period.

 3                                            A TRUE BILL
 4

 5
                                                      /S/
 6                                            Foreperson

 7
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 8   United States Attorney

 9

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     CHRISTOPHER D. GRIGG
11   Assistant United States Attorney
     Chief, National Security Division
12
     ANNAMARTINE SALICK
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     MARK TAKLA
15   Assistant United States Attorney
     Deputy Chief, Terrorism and Export Crimes Section
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